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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    CRIMINAL NO.: 21-CR-392-RCL
                                                 :
                       v.                        :
                                                 :
 ALAN HOSTETTER,                                 :
                                                 :
 RUSSELL TAYLOR,                                 :
                                                 :
 ERIK SCOTT WARNER,                              :
                                                 :
 FELIPE ANTONIO “TONY”                           :
 MARTINEZ,                                       :
                                                 :
 DEREK KINNISON, and                             :
                                                 :
 RONALD MELE,                                    :
                                                 :
                                                 :
                            Defendants.          :



       MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY
   FEDERAL RULE OF CRIMINAL PROCEDURE 6(e) AND SEALED MATERIALS

       The United States of America respectfully moves for entry by this Court of an order

permitting the disclosure in discovery of materials protected by Federal Rule of Criminal

Procedure 6(e). The United States also requests permission to provide in discovery sealed

materials, pursuant to the proposed protective order governing discovery that is pending before the

Court [Docket #33]. Finally, the United States requests that any order granting this motion be

made applicable to co-defendants who may later be joined.




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       WHEREFORE, the United States respectfully requests an order authorizing the

disclosure in discovery of the materials described above.



                                             Respectfully submitted,

                                             CHANNING PHILLIPS
                                             Acting United States Attorney
                                             D.C. Bar No. 415793


                                     By:                      /s/
                                             RISA BERKOWER
                                             Assistant United States Attorney
                                             NY Bar No. 4536538
                                             U.S. Attorney’s Office, District of Columbia
                                             555 Fourth Street, N.W.
                                             Washington, DC 20530
                                             Phone: 202-803-1576
                                             Email: risa.berkower@usdoj.gov




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                            UNITED STATES DISTRICT COURT
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 UNITED STATES OF AMERICA                        :    CRIMINAL NO.: 21-CR-392-RCL
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 ALAN HOSTETTER,                                 :
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 FELIPE ANTONIO “TONY”                           :
 MARTINEZ,                                       :
                                                 :
 DEREK KINNISON, and                             :
                                                 :
 RONALD MELE,                                    :
                                                 :
                                                 :
                            Defendants.          :



                                            ORDER

       Upon consideration of the United States’ motion to disclose items protected by Federal

Rule of Criminal Procedure 6(e) and sealed materials, it is hereby

       ORDERED, that the motion is GRANTED, and it is further

       ORDERED, that the United States may provide in discovery materials protected by

Federal Rule of Criminal Procedure 6(e), and it is further

       ORDERED, that the United States may provide in discovery sealed materials, pursuant to

the previously entered protective order governing discovery [Docket # 33], and it is further
          Case 1:21-cr-00392-RCL Document 36 Filed 07/01/21 Page 4 of 4




        ORDERED, that this Order also applies to the disclosure of the materials described above

to any co-defendants who may later be joined.




Date:                                       ___________________________________
                                            SENIOR U.S. DISTRICT JUDGE
